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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                   Indianapolis Division


    SECURITY WATCH ALERT TEAM,
    LLC,

      Plaintiff,

    v.                                                  Civil Action No. 1:17-00003-SEB-DKL

    STATE OF INDIANA,
    CURTIS T. HILL,                                          JURY TRIAL REQUESTED.
    In his capacity as Indiana Attorney General,
    OFFICE OF THE INDIANA
    ATTORNEY GENERAL,
    DEREK R. PETERSON,
    ED HUTCHISON,

      Defendants.



                                  FIRST AMENDED COMPLAINT



   1. The Plaintiff, SECURITY WATCH ALERT TEAM LLC, moves the Court for entry of

         judgment in its favor against the State of Indiana and its Attorney General, Curtis T. Hill,

         and the Office of the Indiana Attorney General, Derek R. Peterson and Ed Hutchison, and

         in support of such Complaint avers as follows:



                            NATURE OF ACTION AND JURISDICTION



   2. This is a civil action under 42 U.S.C § 1983 seeking damages and injunctive relief

         against Defendants for committing acts, under color of law, with the intent and for the




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      purpose of depriving Plaintiff of rights secured under the Constitution and laws of the

      United States; denying the Plaintiff Due Process; and for refusing or neglecting to

      prevent such deprivations and denials to Plaintiff.



   3. This case arises under the United States Constitution and 42 U.S.C. Sections 1983 and

      1988, as amended. This Court has jurisdiction in this matter pursuant to 28 U.S.C.

      Sections 1331 and 1343. The declaratory and injunctive relief sought is authorized by 28

      U.S.C. Sections 2201 and 2202, 42 U.S.C. Section 1983 and Rule 57 of the Federal Rules

      of Civil Procedure.



   4. Plaintiff brings this action resulting from damages incurred due to agents and or

      employees of the Office of Attorney General’s intentional interference with contractual

      relationships between the Plaintiff and its customers.



   5. This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C.

      1391(b)(1) and (b)(2). The actions complained of took place in this judicial district;

      evidence and employment records relevant to the allegations are maintained in this

      judicial district; Plaintiff would be operating in this judicial district but for the unlawful

      actions and practices of the Defendants; and the Office of the Indiana Attorney General is

      present and regularly conducts affairs in this judicial district.




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                                             PARTIES



   6. Plaintiff SECURITY WATCH ALERT TEAM LLC, is a limited liability company

      organized and existing under the laws of the State of Indiana with its principal place of

      business being Fishers, Indiana.



   7. Defendant CURTIS T. HILL is the elected Attorney General of the State of Indiana.



   8. On information and belief, Defendants DEREK R. PETERSON and ED HUTCHISON

      are employees, agents or assigns of the Office of the Attorney General, and/or were so

      situated at the times relevant to this Complaint.



   9. Defendants are each a “person” subject to suit within the meaning of 42 U.S.C. Section

      1983.



   10. At all times relevant, Defendants acted under color of state law.



   11. The Plaintiff has complied with the Notice Requirements of the Indiana Tort Claims Act.




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                                               FACTS



   12. Plaintiff is an Indiana limited liability company that, at the times complained of herein,

      provided security guard and video surveillance (monitoring) services for commercial and

      residential real estate.



   13. On or about January 6, 2015, the Indiana Attorney General’s office filed a complaint

      against the Plaintiff before the Indiana Private Investigator & Security Guard Licensing

      Board, reciting a number of complaints from the Plaintiff’s business competitors (none

      from the Plaintiff’s customers).



   14. An “emergency hearing” was scheduled before the Private Investigator & Security Guard

      Licensing Board (“Board”) for January 14, 2015, giving the Plaintiff less than four days

      to prepare for the hearing. Plaintiff’s counsel was unable to attend the short-notice

      hearing and sought a continuance. These requests were denied and the hearing

      proceeded.



   15. The Board ruled against the Plaintiff and suspended its security guard license. However,

      The Board subsequently found that it lacked statutory oversight concerning the Plaintiff’s

      video surveillance business.




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   16. On information and belief, Hutchison and Peterson, agents, assigns and/or employees of

      the Indiana Attorney General’s Office, initiated a campaign to discredit and defame the

      Plaintiff and its principals. This included direct communication with the Plaintiff’s video

      surveillance customers and tactics of threat or intimidation to harm the Plaintiff’s

      contractual relationships with its customers. Said actions were taken maliciously, were

      willful and wanton, and outside the scope of Hutchison’s and Peterson’s employment.



   17. As a direct and proximate result of the actions taken by the Indiana Attorney General’s

      Office, the Plaintiff suffered monetary damages, including loss of business and

      termination of recurring monthly contracts.




                                      CAUSES OF ACTION
                                          COUNT ONE
     Constitutional and Civil Rights Pursuant to 42 U.S.C. §§ 1983, 1988 Deprivation of Due
                                             Process
                                     (Against all Defendants)


   18. The foregoing allegations are incorporated as if re-alleged herein.



   19. In its active campaign to shut-down the Plaintiff’s video surveillance business, over

      which it had no statutory oversight or authority, the Office of the Indiana Attorney

      General, by its agents and/or employees, did deny the Plaintiff Due Process of Law.



   20. Defendants acted maliciously, intentionally and with callous disregard for Plaintiff’s

      clearly established constitutional rights.




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   21. As a direct and proximate result of the Defendants’ violations of Plaintiff’s constitutional

      rights, Plaintiff has suffered severe and substantial damages. These damages include lost

      income, lost business opportunities, litigation expenses including attorney fees, loss of

      reputation, inconvenience, and other compensatory damages, in an amount to be

      determined by a jury and the Court.




                                          COUNT TWO
                                            Defamation
                                      (Against all Defendants)


   22. The foregoing allegations are incorporated as if re-alleged herein.



   23. The Defendants’ conduct in contacting the Plaintiff’s customers and publishing

      falsehoods concerning the Plaintiff’s legal status to conduct a video surveillance business,

      threatening and intimidating the Plaintiff’s customers to terminate contractual

      relationships with the Plaintiff, and malicious pursuit of the Plaintiff’s demise constitute

      actionable defamation under Indiana Law.



   24. As a direct and proximate result of the Defendants’ actions, Plaintiff has suffered severe

      and substantial damages. These damages include lost income, lost business opportunities,

      litigation expenses including attorney fees, loss of reputation, inconvenience, and other

      compensatory damages, in an amount to be determined by a jury and the Court.




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                                         COUNT THREE
                                        Defamation Per Se
                                      (Against all Defendants)


   25. The foregoing allegations are incorporated as if re-alleged herein.



   26. The Defendants’ conduct in contacting the Plaintiff’s customers and publishing

      falsehoods concerning the Plaintiff’s occupational misconduct in the operating a video

      surveillance business constitutes actionable defamation per se under Indiana law.



   27. As a direct and proximate result of the Defendants’ actions, Plaintiff has suffered severe

      and substantial damages. These damages include lost income, lost business opportunities,

      litigation expenses including attorney fees, loss of reputation, inconvenience, and other

      compensatory damages, in an amount to be determined by a jury and the Court.



                                         COUNT FOUR
                                            Defamation
                                      (Against all Defendants)


   28. The foregoing allegations are incorporated as if re-alleged herein.



   29. The Defendants’ conduct in contacting the Plaintiff’s customers and publishing

      falsehoods concerning the Plaintiff’s legal status to conduct a video surveillance business,

      threatening and intimidating the Plaintiff’s customers to terminate contractual

      relationships with the Plaintiff, and malicious pursuit of the Plaintiff’s demise constitute

      tortious interference with contractual relationships under Indiana Law.




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   30. As a direct and proximate result of the Defendants’ actions, Plaintiff has suffered severe

      and substantial damages. These damages include lost income, lost business opportunities,

      litigation expenses including attorney fees, loss of reputation, inconvenience, and other

      compensatory damages, in an amount to be determined by a jury and the Court.




                                       PRAYER FOR RELIEF


   WHEREFORE, Plaintiff, requests judgment against Defendants as follows:



          A.      For appropriate declaratory relief regarding the unlawful and unconstitutional

                  acts and practices of Defendants.



          B.      For appropriate compensatory damages in an amount to be determined at trial;



          C.      For appropriate equitable relief against all Defendants as allowed by the Civil

                  Rights Act of 1871, 42 U.S.C. Section 1983, including the enjoining and

                  permanent restraining of these violations, and direction to Defendants to take

                  such affirmative action as is necessary to ensure that the effects of the

                  unconstitutional and unlawful practices are eliminated and do not continue to

                  affect Plaintiff’s, or others’, business opportunities;




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           D.     For an award of reasonable attorney’s fees and his costs on his behalf

                  expended as to such Defendants pursuant to the Civil Rights Act of 1871, 42

                  U.S.C. Section 1988; and



           E.     For such other and further relief to which Plaintiff may show itself justly

                  entitled.



         PLAINTIFF REQUESTS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



Dated this 26th day of April, 2017.


/s/ Thomas B. O’Farrell
Thomas B. O’Farrell

McCLURE ½O’FARRELL
3500 DePauw Boulevard
Suite 2043
Indianapolis, IN 46268-6137
(317) 867-4131
Attorney for Plaintiff




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